Filed 05/29/19                                                    Case 19-21640                                                                  Doc 46
                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF CALIFORNIA

     In re                                                   )
      Debora Miiler-Zuranich                                 )
                                                             )             Case No. 2019-21640
                                                             )
                             DebtorfsL                       )             AMENDMENT COVER SHEET

     This form shall not be used to amend or modify plans.

     I am amending the following documents:

         3 Petition                                                             Statement of Financial Affairs
         7] Creditor Matrix                                                     Statement of Intention
               List of 20 Largest Unsecured Creditors                            List of Equity Security Holders
         7] Schedules(check appropriate boxes).
            □ A/B [7] C |7]D QE/FnG [7]H Bl                                     [7]J
         B Summary of Schedules of Assets and Liabilities
     A fee of $31 Is required for:

               •    An amendment that adds or deletes creditors;
               •    An amendment that changes amounts owed to a creditor; or
               •    An amendment that changes the classification of a debt.

                                                NOTICE OF AMENDMENT TO AFFECTED PARTIES

        I certify that I have notified the trustee in the case (if any) that I have filed or Intend to file the amended or supplemental
     document(s) listed above, and that I have notified all parties affected by the amendment, as required by Federal Rule of Bankruptcy
     Procedure 1009.*

     Dated: 05/29/2019                      Attorney's or Pro Se Debtor's Signature:                /s/ Peter Cianchetta
                                                                            Printed Name:           Patpr nianrhatta

                                                              DECLARATION BY DEBTOR


         l(We), the undersigned debtor(s), hereby declare under penalty of perjury that the information set forth in the amendment(s)
     attached hereto, consisting of        pages, is true and correct.

     Dated; 05/29/201 9m _                                                             Dated: 05/29/2019
     MDebora Miller-Zur
     Debtor's Signature                                                              Joint Debtor's Signature

                                                                     INSTRUCTIONS

         Attach each amended document to this form. If there is a box on the form to indicate that the form is amended or supplemental, check the box.
     Otherwise, write the word "Amended" or "Supplemental" at the top of the form.

         If you are amending Schedules A/B, D, E/F, I, or J, you must also file an Amended Summary of Schedules of Assets and Liabilities in order
     to ensure that the totals are amended for statistical purposes. This form can be found on our website.

         To add creditors, write or type an "A" next to the creditors you are adding on any amended schedule you file. Additionally, (or, in the event
         that you are only amending the creditor matrix) attach a list of all creditors with their addresses in .txt format.
         To correct the names or addresses of creditors that appear on any schedule, use our Change of Address Form (EDO 2-085) instead of filing
         this form, any amended schedule or an amended master address list.
         To delete creditors, write or type a "D" next to the creditors you are deleting on any amended schedule you file. Do not submit a .txt file of
         creditors to be deleted. Only creditors who have not filed a proof of claim in the case will be deleted.

         'Federal Rule of Bankruptcy Procedure 1009 requires the debtor to give notice of an amendment. Notice of the amendment will not be
    given by the Clerk's Office. To comply with this requirement, the debtor's attorney or Pro Se debtor must give notice to the tmstee and any party
    affected by the amendment.by serving the amendment and all previous court notices including, but not limited to, the notice of meeting of creditors,
    discharge of debtor, etc. .A proof of service, indicating that service has been made, must be filed with the court.

         Checks and money orders should be payable to "Clerk, U.S. Bankruptcy Court." (NOTE: No personal checks will be accepted.)
        Forni EDO 2-015. Rev. S/1/17
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
Filed 05/29/19   Case 19-21640   Doc 46
